    Case 1:23-md-03072-CMH-WEF Document 28 Filed 07/11/23 Page 1 of 1 PageID# 1130



                                          IN THE UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF VIRGINIA

      APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                                           CRIMINAL RULE 57.4
                    In Case Number2023 MD 03072               , Case Name In re: Air Crash into the Java Sea on January d.2021
                   Party Represented by Applicant: Plaintiffs Handayani, Masrlzal, Arifini, and Wahyuni

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                        PERSONAL STATEMENT


FULL NAME(no initials, please) Vincent Charles Mancini
Bar Identification Number 6243417                  State
Firm Name Reimer Oobrovoiny & LaBardi PC
Firm Phone #630.654.9547                        Direct Dial #_                                              FAX # 630.654.9676
E-Mail Address vmancini@rdlaboriawpc.com
Office Mailing Address 15 Spinning Wheel Road. Suite 310, Hinsdale. IL 60521

Name(s)offederal district court(s) in which I have been admitted Northern District of Illinois, Central District of Illinois

I certify that the rules of the federal court in the district in which 1 maintain my office extend a similarpro hoc vice admission
privilege to members ofthe bar ofthe Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member ofthe bar.


I hereby certify that, within ninety(90)days before the submission ofthis application, I have read the Local Rules ofthis Court
and that my knowledge of the Federal Rules of Civil Procedure,the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.


I am[H am not IHa full-time employee of the United States of America, and ifso, re^u^t exemption fi^ the admission fee.

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                                                                                                ^^pTicant's

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
pemonally, that the said applicant possesses all of the qualifications required for admission to the bar ofthis Court; that I have
examined the applicant's pei"Sonal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro iiac vice.


                                                     (Signature)                                                                 (Date)

                                                    (Typed or Printed Name)                                                      (VA Bar Number)
Court Use Only:      J
Clerk's Fee Paid Ml or Exemption Granted I I

Tire motion for admission is GRANTED Fl'or DENIED fl




                          (Judge's Signature)
